                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 JOAQUÍN CARCAÑO, et al.,

                      Plaintiffs,
               v.

 ROY A. COOPER, III, et al.,                           No. 1:16-cv-00236-TDS-JEP

                       Defendants,

 PHIL BERGER, et al.,

                       Intervenor-
                       Defendants.



                       CONSENT JUDGMENT AND DECREE

       1.     Whereas on March 28, 2016, Plaintiffs Joaquín Carcaño, Payton Grey

McGarry, Angela Gilmore, the American Civil Liberties Union of North Carolina

(“ACLU-NC”), and Equality North Carolina filed a complaint challenging House Bill 2

(Session Law 2016-3, hereafter referred to as “H.B. 2”) and seeking relief from Defendants

Patrick McCrory, in his official capacity as Governor of North Carolina; Roy A. Cooper

III, in his official capacity as Attorney General of North Carolina; the University of North

Carolina; the Board of Governors of the University of North Carolina; and W. Louis

Bissette, Jr., in his official capacity as Chairman of the Board of Governors of the

University of North Carolina.

       2.     Whereas Phil Berger, in his official capacity as President Pro Tempore of the

North Carolina Senate; and Tim Moore, in his official capacity as Speaker of the North



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Carolina House of Representatives, sought and were granted permissive intervention in

this action on June 6, 2016.

       3.     Whereas Roy A. Cooper, III took office as Governor of North Carolina on

January 1, 2017, and was automatically substituted as a defendant for Governor McCrory

in his official capacity as Governor of North Carolina pursuant to Federal Rule of Civil

Procedure 25(d).

       4.     Whereas on March 30, 2017, the North Carolina General Assembly enacted,

and Governor Cooper signed, House Bill 142, codified as Session Law 2017-4 (“H.B.

142”). H.B. 142, incorporated herein as “Exhibit A,” rescinded H.B. 2’s provisions

limiting transgender individuals’ use of public facilities. The term “public facilities” as

used throughout this Consent Decree refers to multiple occupancy restrooms, showers, or

changing facilities as referenced in N.C.G.S. § 143-760 and sect. 2 of H.B. 142.

       5.     Whereas on July 21, 2017, Plaintiffs Joaquín Carcaño, Payton Grey

McGarry, Hunter Schafer, Madeline Goss, Angela Gilmore, Quinton Harper, and ACLU-

NC (“Plaintiffs”) filed a Fourth Amended Complaint challenging Sections 2, 3, and 4 of

H.B. 142 and seeking relief from Defendants Roy A. Cooper, III, in his official capacity as

Governor of North Carolina; the University of North Carolina; Margaret Spellings, in her

official capacity as President of the University of North Carolina; Josh Stein, in his official

capacity as Attorney General of North Carolina; Machelle Sanders, in her official capacity

as Secretary of the North Carolina Department of Administration; Mandy K. Cohen, in her

official capacity as Secretary of the North Carolina Department of Health and Human




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Services; and, James H. Trogdon III, in his official capacity as Secretary of the North

Carolina Department of Transportation.

       6.      Whereas Governor Cooper, Attorney General Stein, Secretary Sanders,

Secretary Cohen, and Secretary Trogdon (“Executive Branch Defendants”) believe that

continued litigation over the meaning and enforcement of H.B. 142 will result in the

unnecessary expenditure of State resources, and is contrary to the best interests of the State

of North Carolina.

       7.      Whereas Executive Branch Defendants do not waive any protections offered

to them through federal or state law, and do not make any representation regarding the

merits of Plaintiffs’ claims or potential defenses which could be raised in court.

       8.      Whereas Plaintiffs and the Executive Branch Defendants (collectively

referred to as “the Consent Parties”) believe that a resolution of the matter at this time and

in the manner encompassed by the terms of this Consent Decree serves the best interests

of the State and its citizens.

       9.      Whereas the Consent Parties agree that this Consent Decree promotes

judicial economy, protects the limited resources of the Consent Parties, and resolves

Plaintiffs’ claims against the Executive Branch Defendants.

       10.     Whereas the Consent Parties agree that Section 2 of H.B. 142 must be

interpreted to mean that no executive agency, officer, employee, or agent thereof, may

promulgate any regulation which prevents transgender people from using public facilities

in accordance with their gender identity.




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       11.10. Whereas the Consent Parties further agree that any interpretation or

application of Section 2 of H.B. 142 that bars, prohibits, blocks, deters, or impedes

transgender people from using public facilities in accordance with their gender identity or

subjects transgender people to arrest, prosecution, or criminal sanctions for doing so, raises

serious federal-law concerns, including concerns over constitutional guarantees of equal

protection and due process, as well as other applicable federal statutes.

       12.11. Whereas the Court held that “Nothing in the language of Section 2 can be

construed to prevent transgender individuals from using the restrooms that align with their

gender identity[.]” ECF 248 at 49.

       13.12. Whereas the Consent Parties wish to record the interpretation of H.B. 142 set

forth in this Consent Decree, and thereby effect a binding and enforceable resolution of the

claims by Plaintiffs against the Executive Branch Defendants with respect to H.B. 142.

       14.13. Whereas the Consent Parties therefore consent to entry of the following final

and binding judgment as dispositive of all claims raised by Plaintiffs against the Executive

Branch Defendants with respect to H.B. 142.

       15.14. Whereas Plaintiffs agree to a waiver of any entitlement to damages, fees,

including attorneys’ fees, expenses, and costs against the Executive Branch Defendants,

with respect to any and all claims raised by Plaintiffs in this action.

       16.15. Whereas Plaintiffs further agree that dismissal of any and all remaining

claims stemming from H.B. 2 and H.B. 142, against the Executive Branch Defendants is

appropriate, and therefore request a dismissal of all remaining claims against the Executive




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Branch Defendants with prejudice following the formal approval of the Consent Decree by

the presiding District Court Judge.

       17.16. Whereas the Consent Parties intend the following Consent Decree to clarify

that nothing in H.B. 142 can be construed to prevent any person from lawfully using a

public facility under Executive Branch control that accords with such person’s gender

identity, and to be binding for purposes of issue preclusion and claim preclusion in all

future actions, including through non-mutual offensive collateral estoppel.

       ACCORDINGLY, IT IS HEREBY ORDERED, ADJUDGED, AND

DECREED THAT:

       1.     With respect to public facilities that are subject to Executive Branch

Defendants’ control or supervision, the Consent Parties agree that nothing in Section 2 of

H.B. 142 can be construed by the Executive Branch Defendants to prevent transgender

people from lawfully using public facilities in accordance with their gender identity. The

Executive Branch Defendants as used in this paragraph shall include their successors,

officers, and employees. This Order does not preclude any of the Parties from challenging

or acting in accordance with future legislation.

       2.     The Executive Branch Defendants, in their official capacities, and all

successors, officers, and employees are hereby permanently enjoined from applying

Section 2 of H.B. 142 to bar, prohibit, block, deter, or impede any transgender individuals

from using public facilities under any Executive Branch Defendant’s control or

supervision, in accordance with the transgender individual’s gender identity. Under the

authority granted by the General Statutes existing as of December 21, 2018, and


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notwithstanding N.C.G.S. § 114-11.6, the Executive Branch Defendants are enjoined from

prosecuting an individual under Section 2 of H.B. 142 for using public facilities under the

control or supervision of the Executive Branch, when such otherwise lawful use conforms

with the individual’s gender identity.

         3.   The Consent Parties shall each bear their own fees, expenses, and costs with

respect to all claims raised by Plaintiffs against the Executive Branch Defendants.

         4.   All remaining claims filed by Plaintiffs against the Executive Branch

Defendants in this action are hereby dismissed with prejudice.

IT IS SO ORDERED:

Dated:
                                          The Honorable Thomas D. Schroeder
                                          United States District Judge




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                      as Secretary of the North Carolina Department of Health and
                      Human Services; and JAMES H. TROGDON III, in his official
                      capacity as Secretary of the North Carolina Department of
                      Transportation.




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